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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS




 CAROLYN WATSON,                                        Case no.

                                  Plaintiff,

                       v.

                                                              JURY TRIAL DEMANDED
 THE UNIVERSITY OF KANSAS


                                 Defendant.



                                         COMPLAINT

       Plaintiff Carolyn Watson ("Plaintiff"), for her Complaint against Defendant University of

Kansas alleges as follows:

                                     Nature of the Claims

       1.      This is an employment action arising from Defendant’s inadequate compensation

of Carolyn Watson in comparison to men in comparable positions. Plaintiff brings claims under

the Equal Pay Act (“EPA”). Plaintiff has also asserted a charge of discrimination under the under

Title VII of the Civil Rights Act of 1964 and under Title IX, and she intends to amend her

Complaint when those claims become ripe.

       2.      Plaintiff Carolyn Watson was an employee of Defendant from August 2018 until

her constructive discharge in summer of 2022. During the entirety of her employment, she held

the position of Director of the Orchestral Studies, and when she resigned, she was a tenured

Associate Professor in the School of Music.


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        3.     Men in similar roles who had similar or less experience and similar or fewer

responsibilities were compensated more highly than Plaintiff.

        4.     Plaintiff attempted to address this income disparity with various members of the

Administration, but the University refused to make any changes.

        5.     Thus, Plaintiff was deprived of equal pay for substantially equal work in the same

establishment under the same working conditions.

                                               Parties

        6.     Plaintiff Carolyn Watson is currently a female resident of Champaign, Illinois. At

all relevant times, she was employed by Defendants.

        7.     Defendant the University of Kansas is an employer within the meaning of the

term as described in the statutes and laws that form the basis of Plaintiff’s claim.

                                      Jurisdiction and Venue

        8.     This Court has jurisdiction over this action under 28 U.S.C. § 1331, which

provides original jurisdiction in this Court for suits arising under federal law. More specifically,

this Court has jurisdiction over Plaintiff’s claim under the Equal Pay Act, 29 U.S.C. § 206(d)(1).

        9.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because a

substantial part of the events or omissions giving rise to plaintiff’s claims occurred in this

district.

                                        Factual Allegations

        10.    Plaintiff is an orchestral conductor with an international reputation for excellence.

In general, the field of orchestral conducting is very male dominated, with less than 10 percent of

female professional conductors being less than 10 percent of the total.




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       11.     In fact, Plaintiff was the first ever female Director of Orchestral Activities to

serve in Defendant’s School of Music, and on information and belief, the first ever female to lead

a major ensemble area in Defendant’s school of music.

       12.     Plaintiff joined the faculty of the School of Music for the fall semester of 2018,

after winning a national search ahead of more than 100 applicants for the position.

       13.     According to various members of the search committee with whom Plaintiff

spoke, Plaintiff was the unanimous choice of the search committee. However, after joining the

faculty, Plaintiff learned that School of Music Dean Bob Walzel (who was not on the search

committee) was not in favor of her appointment, and instead favored a male candidate who had

not been invited to interview on campus.

       14.     On information and belief, Dean Walzel was so opposed to Plaintiff joining the

faculty that he inquired as to whether the offer extended to Plaintiff could be rescinded.

       15.     Before she accepted the position, Plaintiff was concerned about the inadequate

salary she was offered, especially as compared to a similarly situated male conductor (Director

of Bands), who earned significantly more than she was being offered.

       16.     Other similarly situated male ensemble professors in the School of Music were

compensated more than Plaintiff, despite her having more responsibilities. For instance, although

in general, the Director of Jazz Studies conducted smaller ensembles with shorter and easier

repertoires than did Plaintiff, he was more highly compensated than Plaintiff. Similarly, the

Associate Director of Bands earned more than Plaintiff, who was the Director of the entire

division of orchestra.

       17.     In an effort to better understand the salary gap she was presented with, Plaintiff

sought the advice and guidance of Donna Ginther, Ph.D., a Professor of Economics at Kansas



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University and an expert in pay inequities between men and women. Dr. Ginther agreed that the

offer to Plaintiff was inadequate, and provided some informal advice about negotiating for equal

pay to male professors.

       18.     Armed with publicly available information about male faculty members at the

School of Music, and data in general about salaries for her occupation, and bolstered by her

conversation with Dr. Ginther, Plaintiff attempted to negotiate her salary with Dean Walzel.

       19.     Dean Walzel was immediately hostile to Plaintiff’s efforts to negotiate for a fair

salary. He pushed her to make a decision quickly on whether to accept an offer, claiming that if

she declined, the position would be offered to another candidate. However, according to multiple

members of the search committee with whom Plaintiff spoke, the committee had concerns about

the suitability of the alternate male candidate Dean Walzel favored.

       20.     Dean Walzel also criticized Plaintiff for having sought the guidance of Dr.

Ginther and threatened to revoke her offer of employment if Plaintiff were to continue to voice

concerns about pay inequalities between genders to other members of the faculty.

       21.     Plaintiff was shocked by Dean Walzel’s animosity towards her because of her

reported concerns about unequal pay. She wanted to work for Defendant, so she accepted the

position with no further negotiation.

       22.     After Plaintiff arrived on Defendant’s campus and had already begun serving in

her role, she learned that before she accepted Defendant’s offer, Dean Walzel had publicly

announced that he wanted to rescind the offer of employment to Plaintiff because she had sought

advice and guidance from Dr. Ginther and he considered such an action “unethical.”

       23.     Plaintiff also learned that prior to her arrival, Dean Walzel had read her emails

aloud to staff members in a mocking tone, essentially mocking her efforts to negotiate a fair



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salary.

          24.   In contrast to Dean Walzel’s refusal to negotiate Plaintiff’s salary in any

meaningful way, after he hired Plaintiff, he hired a male Choral Director after negotiating with

the selectee to increase both his salary and his rank.

          25.   After Plaintiff had reported a wage disparity, Dean Walzel treated her with

extreme animosity. He subjected her to disparate treatment as compared to her similarly situated

male colleagues and he created a toxic environment for her.

          26.   Despite Dean Walzel’s hostile and discriminatory treatment, Plaintiff was

enormously successful during her tenure with Defendant. She brought national recognition to the

orchestral program in the form of selection to perform at the 2021 National Conference of the

College Orchestra Directors Association, a prestigious national conference.

          27.   She won two peer-reviewed national awards—the 2020 American Prize for

Orchestral Performance (College/University Division) and the 2020 Ernst Bacon Prize for the

Performance of American Music (College/University Division).

          28.   She expanded the orchestral program from one to three orchestral ensembles,

adding an annual community orchestra collaboration in Fall 2018 – the Vespers Festival

Orchestra, and a second full time non-auditioned ensemble, the KU University Orchestra.

          29.   In Fall 2018, she successfully secured an external Performance Grant for the KU

orchestra from the Women’s Philharmonic Advocacy, one of only two collegiate institutions to

be awarded nationally.

          30.   In summer 2021, she also secured a donation of 20K, the largest ever, to the KU

orchestral program.




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       31.     Despite her tremendous success with the program, Plaintiff ultimately concluded

that continuing to work under the supervision of Dean Walzel, who had been openly hostile to

from the time she attempted to negotiate a fair salary as compared to men in the department, was

untenable. So she resigned her position.

                             Claim: Violation of the Equal Pay Act

       32.     Plaintiff performed substantially the same (or more) duties as her similarly

situated male coworkers, but was paid considerably less.

       33.     Plaintiff’s skills and experience are similar or superior to those of the male

directors in the School of Music in that she has international experience, has worked with

professional orchestras, operas, and ballet companies throughout the country, while none of her

ensemble colleagues have comparable high-level professional experience.

       34.     Plaintiff was paid less than men doing the same or less work under substantially

similar conditions.

       35.     Defendants are subject to the equal pay requirements of the Fair Labor Standards

Act and the Equal Pay Act, 29 U.S.C.A. § 206(d)(1) as it is an employer as defined by the Act.

       36.     By paying Plaintiff less than it paid similarly situated men for similar work,

Defendant violated Plaintiff’s rights under the Equal Pay Act, 29 U.S.C.A § 206(d)(1).

       37.     Defendants’ practice of paying women, including Plaintiff, less than comparably

employed men, was not the result of a seniority system, a merit system, a system of

compensation based on production, or any factor other than sex.

       38.     As set forth in the specific facts above, Defendant’s conduct was willful in that

the disparate compensation scheme was voluntary, deliberate, and intentional and Defendant




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either knew or showed reckless disregard for whether its payment scheme was prohibited by the

law.

        39.     As set forth in the specific facts above, Defendant had no good faith reason to

think its disparate compensation complied with the Equal Pay Act; and in fact acknowledged the

pay disparity without taking any action to rectify it, thus, Plaintiff is entitled to liquidated

damages in an amount equal to the actual damages.

        40.     As a direct and proximate result of Defendant’s actions and/or inaction, Plaintiff

has been deprived of income and other monetary and non-monetary benefits.

        41.     Plaintiff is also entitled to receive attorney’s fees and expense in prosecuting her

claim of unfair wage practices.

        WHEREFORE, Plaintiff respectfully prays judgment in her favor and against Defendant

in the form of: (1) back pay and front pay; (2) lost fringe benefits in an amount yet to be

determined; (3) liquidated damages equal to the amount awarded pursuant to (1) and (2) above;

(4) Plaintiff’s costs and expense including attorney’s fees and expert witness fees; and for such

other relief as the Court deems just and proper.

                                       Demand for Jury Trial

        Plaintiff requests a trial by jury on all claims in her Complaint that may properly be

submitted to a jury.

                                    Designation of Place of Trial

        Plaintiff designates Kansas City, Kansas as the place of trial of this matter.

                                                Respectfully submitted,


                                                /s/ Mark V. Dugan
                                                DUGAN SCHLOZMAN LLC
                                                Mark V. Dugan                   KS Bar

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